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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Saba Mahmood
                          Plaintiff,
v.                                            Case No.: 1:22−cv−02456
                                              Honorable Sharon Johnson Coleman
Berbix Inc.
                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, July 1, 2022:


       MINUTE entry before the Honorable Sharon Johnson Coleman: Telephone status
hearing set for 7/8/2022 is stricken and reset to 9/8/2022 at 10:30 AM. The call−in
number is (877)336−1829 and the access code is 5205245. Members of the public and
media will be able to call in to listen to this hearing. Persons granted remote access to
proceedings are reminded of the general prohibition against photographing, recording, and
rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions, including removal of court issued media credentials, restricted entry to future
hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
the Court. Mailed notice. (ym, )




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